     Case 4:18-cv-01974 Document 12 Filed on 11/27/18 in TXSD Page 1 of 18
                                                                                       United States District Court
                                                                                         Southern District of Texas

                                                                                            ENTERED
                        IN THE UNITED STATES DISTRICT COURT                              November 27, 2018
                                                                                         David J. Bradley, Clerk
                        FOR THE SOUTHERN DISTRICT OF TEXAS
                                 HOUSTON DIVISION

IN RE:                                            §
CJ HOLDING CO., et al.                            §
                                                  §
                       Debtors.                   §
                                                  §
SHARP IRON GROUP, LLC,                            §
                                                  §   CIVIL ACTION NO. H-18-1974
                       Appellant,                 §
                                                  §
v.                                                §
                                                  §
TOTAL E&S, INC.,                                  §
                                                  §
                       Appellee.                  §

                          MEMORANDUM OPINION AND ORDER

       This is an appeal from the bankruptcy court’s order sustaining a debtor’s objection to a

creditor’s proof of claim. (Bankruptcy Docket Entry No. 2306). The dispute arose from a sales

contract between Total E&S, Inc. and Sharp Iron Group, LLC. In Total’s consolidated bankruptcy

proceeding, Sharp alleged that Total had breached the contract by refusing to take delivery of, and

failing to pay for, goods that Sharp manufactured to Total’s specifications, after Total told Sharp to

delay shipment indefinitely. (Docket Entry No. 6 at 21–22). Total alleged that it had terminated the

contract and was not liable to pay for the goods that were not shipped. (Docket Entry No. 10 at

6–7). Sharp responds that it manufactured the goods before Total terminated the contract, and that

Total is obligated to pay for them. The court has appellate jurisdiction under 28 U.S.C. §

157(b)(2)(B), and must decide whether the bankruptcy court erred in finding that Total had

terminated the contract and did not breach it by refusing to accept shipment or pay.

       The question is a close one, and the bankruptcy judge was both careful and thorough. But

                                                  1
     Case 4:18-cv-01974 Document 12 Filed on 11/27/18 in TXSD Page 2 of 18




after considering the parties’ briefs, the record, and the applicable law, the court finds that the record

is inadequate to conclude that Sharp has no claim for relief. Because factual disputes material to

determining Total’s liability remain, this court reverses the bankruptcy court’s decision and

remands. The reasons are stated in detail below.

I.      Background

        The bankruptcy judge held an evidentiary hearing. Sharp’s CEO and owner, Michael

Stanford, and its president, James Frank, testified. In 2013, Total entered into two purchase orders

with Sharp to manufacture T-2600 power frames to meet Total’s design specifications. (Docket

Entry No. 6 at 1). Total drafted the purchase orders. They required Sharp to deliver four to five

frames it manufactured, each week from 2014 to 2015. Total agreed to pay $26,000 for each frame.

(Id. at 10).

        Between October and December 2014, Sharp manufactured and shipped 25 frames, and Total

paid the amount due. Sharp alleges that Total repeatedly asked it to keep up with the manufacturing

schedule. Beginning in August 2014, Sharp hired over two dozen new employees and made other

expenditures to increase its manufacturing capacity. It is unclear that Sharp told Total that it was

making this additional investment to timely fill the purchase orders.

        Starting on December 1, 2014, Total asked Sharp to slow down the shipments and deliveries.

The parties agreed to a revised delivery schedule on December 15, reducing the shipments to three

frames per week. (Docket Entry No. 2, at 1242–44). Under this revised schedule, Total accepted

and paid for another five frames.          On January 19, 2015, Tiffany Sprong, Total’s buyer

representative, emailed her counterpart at Sharp, Roger DeVilbiss, stating that Sharp needed to

reduce its deliveries “down from three to two per week and cannot accept early delivery of any


                                                    2
     Case 4:18-cv-01974 Document 12 Filed on 11/27/18 in TXSD Page 3 of 18




frames.” (Id. at 1461). By this time, Sharp had begun manufacturing 18 frames.

       On January 24, Sprong emailed DeVilbiss, telling Sharp to stop all shipments until further

notice. Sharp did not respond. (Id. at 1462). On February 15, Sprong sent DeVilbiss another email,

stating that “[t]here are 32 frames sitting on [Total’s] floor. I [am] hoping I can take delivery of a

frame or two in a couple weeks.” (Id. at 1463). At this time, Sharp was finishing 20 frames that had

been in the production process since January. Between January and May 2015, Sharp continued

finishing those frames. (Id. at 1247–48).

       According to Sharp, Total’s January email asked Sharp to delay shipments, but not to stop

production. Sharp had the impression that Total had slowed delivery, but that it did not intend to

terminate the purchase orders. (Id. at 1250). Total had some internal documents about terminating

the purchase orders, but the internal emails of Sharp’s sales representative and president, and their

communications with Total, do not suggest that they knew Total was considering termination. (Id.

at 1253).

       On April 17, Sprong again emailed DeVilbiss. This email stated: “[b]ased on all the

meetings that I’ve been in and the latest directive from Executive Management, we won’t be able

to take delivery of frames any time in the near future. I wish we had better news and hope to see

improvement soon. But as of today, that’s the position we’re in.” (Id. at 1472).

       In May 2015, DeVilbiss asked Sprong about Total’s frame inventory. Sprong responded that

Total still had 31 unused frames. (Id. at 1470).       According to Sharp, from May to August,

DeVilbiss frequently emailed Total and asked about the existing inventory and for a revised delivery

schedule. (Id. at 1253–55).

       On August 19, 2015, the parties conferred at Total’s office in Granbury, Texas. Stanford,


                                                  3
     Case 4:18-cv-01974 Document 12 Filed on 11/27/18 in TXSD Page 4 of 18




DeVilbiss, and Sharp’s president, James Frank, met with Total’s vice-president, Kevin Barnes.

(Docket Entry No. 6 at 16). The Sharp officers presented Barnes with a proposed new delivery

schedule. (Id.). Barnes objected, and the parties did not reach an agreement. According to Sharp,

Barnes still did not ask Sharp to stop production or suggest that Total intended to terminate the

orders. Instead, Barnes talked about Total’s plan for increased business in the third and fourth

quarters of 2015. (Docket Entry No. 2 at 1256).

       By August 2015, Sharp had 20 finished frames ready to deliver. In September 2015, Sharp’s

warehouse operations manager, Craig Gillentine, emailed Barnes, stating that beginning on

September 15, Sharp would begin charging Total a $25 monthly storage fee for the completed

frames. (Id, at 1258).

       On October 7, DeVilbiss emailed Kevin Barnes, asking for more details about Total’s fourth-

quarter plans. (Id. at 1259). On November 17, Barnes emailed Frank, stating that there was “still

no change. We’re not in a position to take any frames but remain hopeful that business will return

soon.” Barnes also told Frank that Sharp was on Barnes’s “calendar for contact first week in

December to touch base,” and that Total was “on plan December 11, 2015.” (Id. at 1265).

       On December 17, Frank followed up on Barnes’s November email by asking Barnes about

Total’s plans. On December 29, 2015, the parties held a conference call. According to Stanford,

Total indicated that it still intended to take the frames, sometime in the future. Frank testified that

throughout 2015, Sharp had “requested, begged, pleaded, put [its] own plan together, were promised

a plan, were promised [the frames] would get bought.” (Id. at 1310). Frank testified that Sharp

notified Total repeatedly that it was working on, and had finished, 20 frames. (Id.).

       On December 29, 2015, Sharp sued Total in Texas state court, alleging breach of contract.


                                                  4
     Case 4:18-cv-01974 Document 12 Filed on 11/27/18 in TXSD Page 5 of 18




(Docket Entry No 6). On January 18, 2016, Total emailed Sharp a letter, stating as follows:

       We deny the allegations set forth in the Lawsuit and look forward to defending
       against them. It is our contention that we previously provided notice to Sharp . . . of
       our cancellation of the relevant Agreement and Purchase Orders and repeatedly made
       clear that we were not in a position to take further delivery of products from Sharp.
       In the interest of clarity, and for the avoidance of doubt, we again reiterate that any
       and all Agreements and Purchase Orders, including Purchase Orders 0799778 and
       082139, are terminated and canceled as to any and all products for which Total . . .
       had not already accepted and taken delivery.”

(Docket Entry No. 10 at 15).

       After receiving this notice of cancellation and termination, Sharp tried to mitigate its

damages by selling the frames. Sharp had difficulty reselling them because they were custom-made

to Total’s specifications. Sharp had sold only six by April 2018, at a lower price than the purchase-

order price Total had agreed to pay. Sharp could not sell 14 of the 20 completed frames. (Docket

Entry No. 2 at 1273–74).

        The parties dispute when Total exercised its termination right to cancel the two purchase

orders. Sharp alleges that before January 2016, Total provided no written notice of cancellation.

(Docket Entry No. 6 at 13). Stanford testified that as of January 18, the date Total gave written

notice of termination, the parties were bound by the purchase orders. (Docket Entry No. 2 at 1286).

Frank testified that he was familiar with the oil and gas industry and had never before encountered

a customer who refused to pay for a completed product. (Id. at 1308)

       In July 2016, Total filed for voluntary bankruptcy under Chapter 11. (Docket Entry No. 10

at 17). Sharp filed a proof of claim against Total based on its breach-of-contract cause of action.

Total objected to the proof of claim. In April 2018, the parties appeared at an evidentiary hearing.

Ruling from the bench, the bankruptcy court found that Total had terminated the purchase orders

and did not breach by failing to pay for the 20 completed, unshipped frames. The court sustained

                                                 5
        Case 4:18-cv-01974 Document 12 Filed on 11/27/18 in TXSD Page 6 of 18




Total’s objection to the proof of claim, and Sharp appealed. Indian Creek Fabricators, Inc., a

similarly situated creditor, filed an amicus curiae brief supporting Sharp. (Docket Entry No. 9).

         The parties’ dispute focuses on two questions: (1) whether Total breached by refusing to take

possession of, or pay for, the 20 frames that Sharp manufactured and tendered for delivery before

Total’s written termination notice; and (2) if Total did breach, whether it was nevertheless not liable

and owed no damages because the purchase orders gave Total the unilateral right to terminate at any

time.

II.      The Legal Standard

         “[T]raditional appellate standards” apply to a district court’s review on an appeal from a

bankruptcy court’s judgment or order under 28 U.S.C. § 158(a). Stern v. Marshall, 564 U.S. 462,

475 (2011). This court reviews the bankruptcy court’s conclusions of law de novo and findings of

fact for clear error. See, e.g., In re Ahern Enters., Inc., 507 F.3d 817, 820 (5th Cir. 2007). “A

finding is clearly erroneous if it is without substantial evidence to support it, the court misinterpreted

the effect of the evidence, or [the] court is convinced that the findings are against the preponderance

of credible testimony.” Bd. of Trs. New Orleans Emp’rs Int’l Longshoremen’s Ass’n, AFL–CIO

Pension Fund v. Gabriel, Roeder, Smith & Co., 529 F.3d 506, 509 (5th Cir. 2008).

         Whether a party has breached a contract and its proper interpretation are questions of law.

X. Techs., Inc. v. Marvin Test Sys., 719 F.3d 406, 413 (5th Cir. 2013); Fina, Inc. v. ARCO, 200 F.3d

266, 268 (5th Cir. 2000). Total and Sharp agree that Texas law applies. (Docket Entry No. 11 at

2); Century Sur. Co. v. Seidel, 893 F.3d 328, 332 (5th Cir. 2018). In construing a contract, a court

must ascertain and give effect to the written expression of the parties’ intent. Italian Cowboy

Partners, Ltd. v. Prudential Ins. Co. of Am., 341 S.W.3d 323, 333 (Tex. 2011); Seagull Energy E&P,


                                                    6
     Case 4:18-cv-01974 Document 12 Filed on 11/27/18 in TXSD Page 7 of 18




Inc. v. Eland Energy, Inc., 207 S.W.3d 342, 345 (Tex. 2006). Courts “strive to honor the parties’

agreement and not remake their contract by reading additional provisions into it.” Gilbert Tex.

Constr., L.P. v. Underwriters at Lloyd’s London, 327 S.W.3d 118, 126 (Tex. 2010). The parties’

intent is governed by what is written in the contract, not by what one side contends they intended

but failed to say. Id. at 127. “[I]t is objective, not subjective, intent that controls.” Matagorda Cty.

Hosp. Dist. v. Burwell, 189 S.W.3d 738, 740 (Tex. 2006) (per curiam). The court must give contract

terms their plain and ordinary meaning unless the contract indicates that the parties intended

differently. Dynegy Midstream Servs., Ltd. P’ship. v. Apache Corp., 294 S.W.3d 164, 168 (Tex.

2009). “This reliance on the written terms must include consideration of all the terms: ‘[C]ourts

should examine and consider the entire writing in an effort to harmonize and give effect to all the

provisions of the contract so that none will be rendered meaningless.’” Frew v. Janek, 780 F.3d 320,

327–28 (5th Cir. 2015) (quoting Coker v. Coker, 650 S.W.2d 391, 393 (Tex. 1983)). A court does

not consider only those parts of a contract that favor one party. City of Keller v. Wilson, 168 S.W.3d

802, 811 (Tex. 2005). The court must consider the contract “from a utilitarian standpoint and bear

in mind the particular business activity to be served,” and, when possible and proper to do so, avoid

a construction that is “unreasonable, inequitable, and oppressive.” Frost Nat’l Bank v. L & F

Distribs., Ltd., 165 S.W.3d 310, 312 (Tex. 2005) (per curiam) (quoting Reilly v. Rangers Mgmt.,

Inc., 727 S.W.2d 527, 530 (Tex. 1987)).

        If a contract is not ambiguous, the court must enforce it as written without considering parol

evidence to create an ambiguity or give the contract “a meaning different from that which its

language imports.” David J. Sacks, P.C. v. Haden, 266 S.W.3d 447, 450 (Tex. 2008) (per curiam).

A court determines whether a contract is ambiguous by looking to it as a whole, in light of the


                                                   7
       Case 4:18-cv-01974 Document 12 Filed on 11/27/18 in TXSD Page 8 of 18




circumstances present when the parties executed it. Sun Oil Co. (Del.) v. Madeley, 626 S.W.2d 726,

731 (Tex. 1981). The contract is unambiguous if it can be given a certain or a definite meaning as

a matter of law. El Paso Field Servs., L.P. v. MasTec N. Am., Inc., 389 S.W.3d 802, 806 (Tex.

2012). If the contract is subject to more than one reasonable interpretation after applying the

pertinent rules of contract construction, then the contract is ambiguous and a factual dispute material

to determining the parties’ intent exists. Id. (citing J.M. Davidson, Inc. v. Webster, 128 S.W.3d 223,

229 (Tex. 2003)).

III.    Analysis

        A.      The Purchase Order Provisions

        Three provisions of the parties’ two purchase orders are relevant:

        § 2 Termination or Modification. Total may, at its option, terminate this
        Agreement and any Purchase Order, in whole or in part, upon providing written
        notice to Seller. Any conforming deliveries made prior to the effective date of such
        cancellation shall be controlled and governed by this Agreement. Total agrees to pay
        Seller for such conforming deliveries in accordance with the applicable Purchase
        Order. In the event, however, that Seller is in breach of any of the terms thereof,
        including the warranties of the Seller, or in the event that Seller so fails to make
        progress so as to endanger performance by Seller of the Purchase Order in
        accordance with its terms or the performance by Total of any order or contract with
        any other party, Total shall be entitled to cancel Purchase Order without liability.

        § 3 Terms of Payment. Seller shall receive the compensation specified in the
        Purchase Order; provided, however, that in the event Seller, at any time during the
        life of the Purchase Order, quotes or sells similar Goods under similar conditions to
        any other customer at a price lower than that stated in the Purchase Order, such lower
        price shall, from that time forward, be substituted for the price stated in the Purchase
        Order. Total shall not be responsible for any additional changes, whatsoever, with
        respect to any Goods furnished in connection with a Purchase Order unless they are
        approved in writing by the head of the purchasing department or a corporate officer
        of Total. Upon request, Seller shall provide to Total an itemized list of Seller’s costs.
        Payment shall be made within forty five (45) days of the date of delivery. Any
        deliveries containing excess Goods shall be returnable at the sole cost and expense
        of Seller. Any Goods shipped in advance of the scheduled delivery date may be


                                                   8
     Case 4:18-cv-01974 Document 12 Filed on 11/27/18 in TXSD Page 9 of 18




       stored by Total at the expense of Seller or may be returned to Seller at Seller’s
       expense, but if retained, invoices may be paid as of the scheduled delivery date.

       § 9 Changes. Total reserves the right to make changes in (1) the specification,
       drawings and sample if any; (2) the method of the shipment or packaging; (3) the
       place and time of performance; and (4) the articles and materials, including the
       quantity thereof, to be furnished by the Seller (each a “Change”). If any such Change
       causes an increase or decrease in the cost of, or the time required for performance of
       a Purchase Order, an equitable adjustment shall be made in the contract price [or]
       performance schedule, or both, by mutual agreement. Any request by Seller to adjust
       the terms of any applicable Purchase Order as a result of a Change must be submitted
       to Total in writing within thirty (30) days from the date Seller received notice of
       change.

(Docket Entry No. 10 at 13–14) (emphasis added).

       Sharp asks the court to reverse the bankruptcy court’s ruling that Total terminated the

purchase orders before 2016 by refusing to take any deliveries and did not breach any obligation

to receive and pay for frames after that. Sharp argues that Total’s obligation to pay was

triggered when Sharp “delivered” the 20 frames completed between January and May

2015—before Total gave notice to stop shipment, also before Total sent a written notice

terminating the order—by tendering the frames Total for shipment. According to Sharp, Total

did not terminate the purchase orders until January 2016, when it set the written notice of

termination. Instead, Sharp alleges, until January 2016, Total “repeatedly informed Sharp that it

intended and hoped to take delivery in the near future.” Sharp alleges that Total is liable for

breach because it refused to pay for the 20 completed-and-tendered frames, a liability that

survived the January 2016 written notice terminating the purchase orders. (Docket Entry No. 6

at 23–25).

       Total responded that the bankruptcy court did not err because: (1) Total exercised its

right to put off delivery under § 9; and (2) even if Total did breach, § 2 allowed it to terminate


                                                  9
    Case 4:18-cv-01974 Document 12 Filed on 11/27/18 in TXSD Page 10 of 18




the purchase orders without liability. (Docket Entry No. 10 at 19–20). Total contends that it was

not obligated to pay for the 20 frames it did not authorize for shipment and never received,

because § 3 requires payment within 45 days of the date of actual delivery, which did not occur.

       B.      Total’s Right to Make Changes Under § 9

       Total conceded that it would have been obligated to pay if it had terminated the Purchase

Orders after Sharp delivered the frames. (Docket Entry No. 10 at 27). Sharp argues that it

“delivered” the manufactured frames by tendering delivery, which it did by giving Total the

notice reasonably needed for it to take delivery and holding the conforming frames at Total’s

disposition. (Docket Entry No. 6 at 30) (citing Anadarko Petroleum Corp. v. Williams Alaska

Petroleum, Inc., 737 F.3d 966, 971 (5th Cir. 2013) (“[W]here [the supplier] has already

discharged its full performance under the contract by tendering the oil, [the purchaser]’s

obligation to pay the correct contract price . . . is no longer executory and thus survives the

contract’s termination.”)).

       Total objects to Sharp’s interpretation, arguing that “delivery” under § 3 required actual

delivery. Total relies on the fact that the purchase orders did not mention “tender,” and that § 9

of the purchase orders gave Total the right to put off delivery indefinitely. (Docket Entry 10 at

14–15). Total distinguished this case from Anadarko Petroleum, on the basis that in Anadarko,

the seller had actually delivered the products. Anadarko Petroleum, 737 F.3d 966, 969.

       The purchase orders do not define “delivery.” The Texas Business and Commerce Code

does not define “delivery” and “tender” separately. Sharp relies on § 2.503(a) of the Code,

which provides the manner of seller’s tender of delivery:

       Tender of delivery requires that the seller put and hold conforming goods at the
       buyer’s disposition and give the buyer any notification reasonably necessary to

                                                 10
    Case 4:18-cv-01974 Document 12 Filed on 11/27/18 in TXSD Page 11 of 18




       enable him to take delivery. The manner, time and place for tender are determined
       by the agreement and this Article.

TEX. BUS. & COM. CODE § 2.503(a). Sharp argues that Total violated its obligation to use reasonable

effort to take physical possession of goods tendered for delivery. Valeo Mktg. & Supply Co. v.

Kalama Int’l, 51 S.W.3d 345, 352–54 (Tex. App.—Houston [1st Dist.] 2001, no pet.).

       The bankruptcy court did not rule on a specific interpretation of “delivery” under § 3 of the

purchase orders, and it is not necessary for this court to do so.

       Total contends that it exercised its right under the purchase orders to change the performance

terms. (Docket Entry No. 10 at 12). The first sentence in § 9 allows Total to make changes in “the

place and time of performance” and “the articles and materials, including the quantity . . . to be

furnished.” Nothing in the purchase orders limited Total’s right to reduce the number of frames it

would accept or to defer shipments; both modifications would be “Changes.”

       The next sentence in § 9 states that “[i]f any such Change causes an increase or decrease in

the cost of, or the time required for performance of a Purchase Order, an equitable adjustment shall

be made in the contract price [or] performance schedule, or both, by mutual agreement. Any request

by Seller to adjust the terms of any applicable Purchase Order as a result of a Change must be

submitted to Total in writing within thirty (30) days from the date Seller received notice of the

change.” The word “shall” is inherently ambiguous; depending on context, it can mean “must,”

“should,” or “may.” BRYAN A. GARNER, GARNER’S DICTIONARY OF LEGAL USAGE 952–55 (3rd ed.

2011); ANTONIN SCALIA & BRYAN A. GARNER, READING LAW: THE INTERPRETATION OF LEGAL

TEXTS 112–15 (2012). It could mean that the parties “must” make an equitable adjustment to the

contract price or time for performance if the delay in shipment or reduction in the number of frames

increased the time for, or cost of, Sharp’s performance. But because the sentence qualified “shall”

                                                 11
    Case 4:18-cv-01974 Document 12 Filed on 11/27/18 in TXSD Page 12 of 18




with the requirement that any adjustment be mutually agreed, “shall” is properly read in context to

require Total, on Sharp’s timely written request, to make good-faith efforts to reach agreement on

an equitable adjustment to the time for performance or the purchase price if Sharp timely requested.

TEX. BUS. & COM. CODE § 1.203; El Paso Natural Gas. Co. v. Minco Oil & Gas, Inc., 8 S.W.3d 309,

313 (Tex. 1999) (the contracting parties have “a statutory obligation to act in good faith in the

performance, enforcement[,] and modification of these agreements”); Man Indus. (India), Ltd. v.

Midcontinent Express Pipeline, LLC, 407 S.W.3d 342, 363–64 (Tex. App.—Houston [14th Dist.]

2013, pet. denied); see also Andypolo LP v. Caravan Rug Corp., No. H-12-3556, 2014 WL 4273886,

at *11–*12 (S.D. Tex. Aug. 28, 2014) (summarizing El Paso, which required the parties of a

contract to “act fairly and in good faith in the performance, enforcement, and modification of its

agreements,” but that duty did not apply to “the formation of contract, including releases”).

       The record shows that Sharp did submit repeated written requests, in the form of emails, to

Total, asking for a new shipment schedule, for authorization to ship, and for an adjustment to the

price that would include Sharp’s storage fees for the frames it had begun manufacturing before Total

deferred deliveries and completed before Total sent written notice of terminations. There is at least

a factual dispute as to whether Sharp’s emails were effective written notice to Total to negotiate in

good faith to equitably adjust the contract price or performance schedule, or both. The purchase

orders do not state the consequences if the parties fail to reach mutual agreement after Total makes

a “Change” and Sharp provides a timely written request to adjust the purchase order terms because

Total’s changes have increased Sharp’s time for, or costs of, performance. The failure creates an

ambiguity as to whether Sharp is then entitled to recover for the frames it manufactured in

accordance with the purchase orders before Total gave effective notice of its intent to terminate.


                                                 12
    Case 4:18-cv-01974 Document 12 Filed on 11/27/18 in TXSD Page 13 of 18




That ambiguity is underscored by the testimony and exhibits showing that before it sent the email

notice of termination, Total repeatedly told Sharp, in writing and orally, that it hoped to resume

taking deliveries “soon,” and by the evidence that Total did not state, orally or in writing, before

January 2016, that it intended to terminate or cancel the purchase orders.

       The current record supports a finding that Sharp reasonably understood Total’s statements

as meaning that Total would accept shipment of, and pay the Purchase Order price, for the frames

Sharp had completed between January and May 2015; that Sharp was ready to deliver these frames

as soon as Total authorized shipment; and that Sharp was paying to store the frames in a climate-

controlled facility until Total authorized shipment.

       Section 2.103 of the Texas Business and Commerce Code defines “good faith” as “honesty

in fact and the observance of reasonable commercial standards of fair dealing in the trade.” TEX.

BUS. & COM. CODE § 2.103. Under Texas law, “[a] promise is illusory if it does not bind the

promisor, such as when the promisor retains the option to discontinue performance.” In re 24R, Inc.,

324 S.W.3d 564, 567 (Tex. 2010); see also M&G Polymers USA, LLC v. Tackett, 851 F.3d 473, 481

(5th Cir. 2017) (“If the Policy provides [the defendant] with the unquestionable right to pay only to

the extent it pleases, it is illusory.”); cf. In re Halliburton Co., 80 S.W.3d 566, 569–70 (Tex. 2002)

(an arbitration agreement giving the employer the right to unilaterally terminate was not illusory

because the agreement required prior notice of changes, including termination). Reading the

purchase orders to give Total the right to unilaterally terminate without any written notice and to

escape payment for any frames manufactured before then, in reliance on Total’s purchase order

commitment to pay for them, could result in an illusory contract. M&G Polymers USA, LLC v.




                                                 13
    Case 4:18-cv-01974 Document 12 Filed on 11/27/18 in TXSD Page 14 of 18




Tackett, 135 S. Ct. 926, 936 (2015) (courts should avoid constructions of contracts that would render

promises illusory because such promises cannot serve as consideration for a contract).

        At trial, Sharp testified that from January to December 2015, it “requested, begged, pleaded”

with Total to provide or agree to a revised delivery schedule, and that Total failed to do so, while

expressing the intent and hope to take the frames in the near future. Factual disputes that the present

record does not resolve include whether Sharp gave Total a timely written request to adjusting the

delivery schedule or prices, or both, within 30 days after receiving notice of Total’s changes, and

whether Total negotiated a price or schedule adjustment in good faith after exercising its § 9 right

to make changes in the delivery quantity and schedule that delayed Sharp’s performance or

increased the price.

        C.      Total’s Right to Terminate Under § 2

        Section 2 of the purchase orders provided Total the right to terminate. Total contends that

it is not liable for any breach after it exercised its termination right because it did so before receiving

actual delivery of the frames. Sharp argues that Total’s liability survived the termination notice.

According to Sharp, “terminate” and “cancel” have different meanings in the purchase orders. The

last sentence of § 2 states that Total had the right to cancel a purchase order if Sharp breached,

without liability; while the first sentence states that Total had the right to terminate only after

providing Sharp written notice. Sharp argues that under § 2, Total could end the purchase orders

without liability for manufactured-but-undelivered frames only if Total “cancelled” based on Sharp’s

breach. If Total unilaterally terminated, rather than cancelled, the purchase orders without a prior

material breach by Sharp, Total would, according to Sharp, remain liable to pay at least for the

frames Sharp manufactured and tendered for delivery before the termination. (Docket Entry No. 6


                                                    14
    Case 4:18-cv-01974 Document 12 Filed on 11/27/18 in TXSD Page 15 of 18




at 27). Sharp relied on the Texas Business and Commerce Code for the different definitions of

“termination” and “cancellation”:

       (c)    “Termination” occurs when either party pursuant to a power created by
       agreement or law puts an end to the contract otherwise than for its breach. On
       “termination” all obligations which are still executory on both sides are discharged
       but any right based on prior breach or performance survives.

       (d)     “Cancellation” occurs when either party puts an end to the contract for breach
       by the other and its effect is the same as that of “termination” except that the
       cancelling party also retains any remedy for breach of the whole contract or any
       unperformed balance.

TEX. BUS. & COM. CODE § 2.106(c)-(d). The difference is whether the other party first breaches the

contract. Int’l Therapeutics, Inc. v. McGraw-Edison Co., 721 F.2d 488, 491–92 (5th Cir. 1983).

A termination requires reasonable notice, but a cancellation does not. Id. at 492.

       Total argues that even if it terminated, rather than cancelled, the purchase orders, it is not

liable to pay for the frames not shipped, because the express language of § 2 provides a broad power

to terminate on written notice, without mentioning any liability for any goods manufactured—but

not shipped—before the notice. (Docket Entry No. 10 at 18). Total’s argument focuses on the

structure of § 2. (Id. at 26–27). According to Total, § 2 starts with the default rule that “all pre-

delivery terminations are without liability for payment, and all post-delivery termination requires

liability for payment.” The second sentence states that “[a]ny conforming deliveries made prior to

the effective date of such cancellation shall be controlled and governed by this Agreement,” and that

“Total agrees to pay . . . for such conforming deliveries in accordance with the applicable Purchase

Order.” (Id. at 27).

       The parties dispute whether Total, after giving written notice of termination following

months of expressing its hope and intent to resume receiving deliveries, is liable for refusing to take


                                                  15
    Case 4:18-cv-01974 Document 12 Filed on 11/27/18 in TXSD Page 16 of 18




possession of the 20 frames that Sharp manufactured after Total began reducing, then indefinitely

deferring, shipment authorization. The bankruptcy court found for Total:

        In looking at the rights under the standard terms and conditions, it is very clear to me
        that Total had the right to terminate the agreement. And terminate has a very specific
        meaning versus had the right to breach the agreement. Total exercised its rights
        under the agreement. There was no breach. Without a breach, there can be no
        damages.

(Docket Entry No. 2 at 1342).

        The current record does not sufficiently support this finding. For the reasons identified

above, the finding does not address the fact that Total’s written termination notice was preceded by

months of changes to the delivery schedule. It does not address the ambiguity created by the

obligation to attempt (at least) in good faith to reach mutual agreement on an adjusted time for

Sharp’s performance or price following Sharp’s timely requests for adjustments after notice of the

Changes. It does not address the ambiguity created by the absence of any purchase order language

stating the consequence of a failure by Total to negotiate in good faith or the parties’ failure to reach

mutual agreement. Under Texas law, on termination, executory obligations on both sides are

discharged, but any right based on a prior breach or performance survives. Anadarko Petroleum,

737 F.3d at 971; Gulf Liquids New River Project, LLC v. Gulsby Eng’g, Inc., 356 S.W.3d 54, 65–66

(Tex. App.—Houston [1st Dist.] 2011, no pet.). Total’s reading that it must pay for pre-termination

deliveries, but need not pay for post-termination deliveries, regardless of when manufacture or

tender of delivery occurred, and regardless of whether its termination notice was “reasonable,” fails

to account for the purchase orders’ use, and the Code’s definitions, of “terminate” and “cancel.”

        Indian Creek’s amicus brief supporting Sharp also asks the court to construe the purchase

orders to avoid an illusory promise. Young v. Neatherlin, 102 S.W.3d 415, 420 (Tex. App. 2003);


                                                   16
      Case 4:18-cv-01974 Document 12 Filed on 11/27/18 in TXSD Page 17 of 18




(Docket Entry No. 9 at 9). It argues that a purchase order giving Total a unilateral right to terminate

without liability may be unenforceable, because the unilateral-termination clause makes Total’s

promise illusory. J.M. Davidson, 128 S.W.3d at 236. But the purchase orders required Total to give

written notice before exercising its right to terminate, and Total concedes that it would be liable if

it had terminated the purchase orders after receiving delivery of the frames. The purchase orders

are not illusory because of these promises.1 See In re Halliburton, 80 S.W.3d 566, 569–70 (an

arbitration agreement was not illusory because it required a 10-day notice of any modification or

termination and stated that these changes would apply prospectively).

        The record shows that Total reduced, then deferred, shipment authorization for more than

one year, while giving assurances to Sharp of an expectation of resuming deliveries in the near

future, and without reaching an agreement with Sharp for an adjusted delivery schedule or price.

The uncertainties as to whether Total attempted in good faith to agree on adjustments to the delivery

schedule or price; whether Total violated its obligation to use reasonable effort to take physical

possession of goods tendered for delivery before effectively changed Sharp’s performance; and

whether and when Total terminated the purchase orders, with what consequence, remain unresolved

on this record. The bankruptcy court did not rule on these and related disputes material to

determining breach and damages, and the record does not permit this court to resolve them.



IV.     Conclusion


1
   Although the purchase orders are not illusory because Total’s unilateral right to terminate, if § 9 is
interpreted to allow Total to defer all shipments indefinitely, without notice or any obligation, the contract
may be unenforceable because of Total’s illusory promise. To avoid that result, the court reads § 9 as
requiring Total to make good-faith efforts, upon Sharp’s timely request, to reach mutual agreement with
Sharp for an adjusted delivery schedule or contract price.

                                                     17
    Case 4:18-cv-01974 Document 12 Filed on 11/27/18 in TXSD Page 18 of 18




       The bankruptcy court’s finding that Total did not breach the contract and owes no damages

is reversed and remanded for further findings and proceedings.

              SIGNED on November 27, 2018, at Houston, Texas.


                                         ______________________________________
                                                        Lee H. Rosenthal
                                                    Chief United States District Judge




                                              18
